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               6   Attorney for Defendants Matthew T. Gregory, Gregory
                   Baka, Anthony Welch and Tom Schweiger.
               7
               8
               9                              IN THE UNITED STATES DISTRICT COURT
              10                              FOR THE NORTHERN MARIANA ISLANDS
              11
              12   RANDALL T. FENNELL,                            CIVIL ACTION NO. 09-0019
              13                 Plaintiff,
              14
                                         vs.
              15
                   MATTHEW T. GREGORY, former                     DEFENDANTS’ NOTICE OF
              16   Attorney General, GREGORY BAKA,                CORRECTION TO THEIR MOTION TO
                   Acting Attorney General, ANTHONY               DISMISS.
              17
                   WELCH, Assistant Attorney General,
              18   TOM J. SCHWEIGER, Assistant Attorney
                   General, and DOES 1-20, in their official
              19   and individual capacities,
              20                 Defendants.
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               1
                             NOTICE OF CORRECTION TO DEFENDANTS’ MOTION TO DISMISS.
               2
                           On July 31, 2009, defendants in the above-captioned case filed their Motion to Dismiss.
               3
               4   Counsel for defendants included an argument that the Commonwealth Employees’ Liability

               5   Reform and Tort Compensation Act of 2006 (the “Act”) did not have an ex post facto provision.

               6   This was error, and Counsel for Defendants apologizes to the Court for the inadvertent error.1 As
               7
                   demonstrated in both the Plaintiff’s Opposition to the Motion to Dismiss and the Defendants’
               8
                   Reply thereto, however, Mr. Fennell’s due process complaint stems from a conflict-free
               9
                   representation claim rather then any rights flowing from the Act. Regardless, I am embarrassed
              10
              11   by this oversight and apologize to the Court and to Mr. Fennell for the error.

              12
              13
              14                                                         Respectfully submitted
              15                                                         September 9, 2009
                                                                         OFFICE OF THE ATTORNEY GENERAL
              16
              17
                                                                                    /S/
              18
                                                                         Braddock Huesman, F#0367
              19
              20
                                                     CERTIFICATE OF SERVICE
              21
                          I certify that a copy of Defendants’ Motion to Enlarge Time was served on Mark Hanson
              22   who is the attorney in charge for plaintiff, Mr. Fennell, and whose address is PMB 738, PO Box
                   10000, Saipan, MP 96950, (670) 233-8600, by electronic filing on September 9, 2009.
              23
              24
              25                                         __/s/_______________________
                                                         Braddock J. Huesman
              26
              27
                      1
                        Counsel’s hard copy of the Act was, apparently, missing two pages. Moreover, and to my
              28   embarrassment, I didn’t read the electronic copy I pulled off of the Law Revision website.

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